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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )      PRETRIAL STATUS CONFERENCE
                  Plaintiff,                 )
                                             )
       vs.                                   )
                                             )      Case No. 1:24-cr-191
Jennifer Trejo,                              )
                                             )
                  Defendant.                 )


       The undersigned shall hold a pretrial status conference with counsel by telephone on May

21, 2025, at 10:15 AM to discuss, among other things, the viability of the current trial date. To

participate, counsel shall call (571) 353-2301 and enter “Call ID” 292466149. Counsel are strongly

encouraged to consult with each other prior to the conference. This will enable the conference to

progress more expeditiously.

       IT IS SO ORDERED.

       Dated this 22nd day of April, 2025.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court
